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                           UNITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT OF FLORIDA

                         CASE NO.17-20307-CR-M ARTINEZ/AOR

 UNITED STATES OF AM ERICA ,



 VENCESS TOBY,

        Defendant.
                             /

                            REPORT AND RECOM M ENDATION

        THIS CAUSE cam e before the undersigned by Order of Reference issued by the

 Honorable Jose E.M artinez,United States DistrictJudge,pursuantto Title 28,United States

 Code,Section 636 (D.E.3901.The OrderofReferencerequiresaReportandRecommendation
 asto the reasonableness ofthe FirstInterim Vouchersubmitted pursuantto the CriminalJustice

 Act($tCJA'')(hereafter,(lFirstlnterim CJA Voucher'')by counselforDefendantVencessToby
 (çsDefendant'').Uponathoroughreview ofthismatter,theundersignedrespectfullyrecommends
 thatthe Firstlnterim CJA Voucherbeapproved.

                                 PRO CEDURAL BACK GROUND

        ln thiscase,fourteen defendants are charged in a Superseding IndictmentED.E.1931.
 The charges in the Superseding Indictm entconsistof:a RICO conspiracy whose predicate acts

 include threats of murder, robbery, and drug trafficking; a drug trafûcking conspiracy;

 possession of drugs w ith intentto distribute;possession/use of firearm s in furtherance of drug

 trafficking crim esand crim esofviolence'
                                         ,and H obbsA ctRobbery. Id.

        The First lnterim CJA voucher subm itted by Defendant's Attorney Scott Sakin

 CsAttorney Sakin'') requests compensation in the amotmt of $10,286.87,which consists of
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 $10,058.40 in fees for 76.2 out-of-courthours, $66.00 in feesfor 0.5 in-courthours,$98.88 in

 travelexpenses,and $63.59 in otherexpenses.
        The CJA Budgetapproved in the case authorizes for Dtfendant 367 hours at$132 per

 hour,fora totalattorney feesam ountof$48,644,plus$200form iscellaneouscosts.
                               APPLICABLE GUIDELINES

        The United States JudicialConference developed the Guidelines for Administering the

 CJA and Related Statutes(thedçGuidelines'')to assistcourtsin theapplication oftheprovisions
 oftheCJA. SeelnreBerger,498U.S.233,234 (1991).lntheGuidelines,judgesareûsurgedto
 com pensate counsel at a rate and in an am ount sufficientto cover appointed counsel's general

 ofûce overhead and to ensure adequatecom pensation forrepresentation provided.'' See Section

 j630.20 ofthe Guidelines. TheCJA Plan forthe Southern DistrictofFloridaexplicitly states
 thatSilplaymentoffees and expensesshallbe made in accordance with the provisions ofthe
 (Guidelinesj.'' The districtcourt,asthe body empowered to çsfix''the compensation ofCJA-
 appointed counsel,has the statutory authority and discretion to determine whatis a reasonable

 expenseorareasonableuseofbillabletime.18U.S.C.j3006A(d)(5); UnitedStatesv.Griccs,
 240F.3d974(11th Cir.2001).
                                     D ISC U SSIO N

        The First lnterim CJA Voucher under consideration reflects the following out-of-court

 hoursby category:

                          Cate o                      Hours     A mount $
              lnterview s and Conferences              7.3            963.60
              Obtainin and Review in R ecords         52.2         6,890.40
              Le alResearch and BriefW ritin           9.2          1,214.40
              TravelTim e                              6.3            831.60
              Investi ative and O therw ork            1.2            158.40
              Total                                   76.2         10,058.40



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           The undersigned has reviewed the tim e sheets subm itted by Attorney Sakin and tlnds

     thesthoursto be rtasonable and within the approved budgetam ount. The subm itted expenses

     arealso within theapproved budgetam ount.

                                   RECOM M ENDATION

           Based on the foregoing, the undersigned RESPECTFULLY RECOM M ENDS that

     Attorney Sakin'sFirstInterim CJA Voucherbe approved in the am ountof $10,286.87,which

     consistsof$10,058.40 in feesfor76.2 out-of-courthours,$66.00 in fees for0.5 in-courthours,

     $98.88in travelexpenses,and $63.59 in otherexpenses.

           Pursuantto LocalM agistrate Judge Rule 4(b),thepartieshave fourteen daysfrom the
     date ofthisReportand Recommendation to filewritten objections,ifany,with theHonorable
     JoseE.M artinez. Failuretotimelyfileobjectionsshallbarthepartiesfrom attackingon appeal
     the factualfndingscontained herein. See Resolution Tr.Corp.v.Hallm ark Buildersplnc.,996

     F.2d 1144,1149 (11th Cir.1993).Further,ikfailureto objectin accordancewith the provisions
     ofg28U.S.C.)j636(b)(1)waivestherightto challengeon appealthedistrictcourt'sorderbased
     onunobjected-tofactualandlegalconclusions.''See 11thCir.R.3-1(I.O.P.-3).
           RESPECTFULLYSUBMITTEDinMiami,Floridathis /2X ayofMarch,2018.

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                                                                      X
                                             ALICIA M .OTAZO- YES
                                             UNITED STATES M AGISTRATE JUDGE


     cc:   United StatesDistrictJudge JoseE.M artinez
           CounselofRecord
